    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 1 of 15 PageID #:180



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 UNITED STATES OF AMERICA,                            )
                                                      )   Case No. 17 CR 227
              v.                                      )
                                                      )   Judge Sharon Johnson Coleman
 TIMOTHY K. LIOU                                      )


                  DEFENDANT TIMOTHY LIOU’S OBJECTIONS TO
             PRESENTENCING REPORT AND SENTENCING MEMORANDUM

       Defendant, TIMOTHY K. LIOU (“Tim”), by and through his attorneys, GAYLE

LITTLETON, BLAKE SERCYE, and HUIYI CHEN of JENNER & BLOCK LLP, files these

Objections to Presentencing Report (the “PSR”) and Sentencing Memorandum in support of his

request for this Court to impose a sentence of 60 months’ probation, which is below the applicable

advisory Federal Sentencing Guidelines (the “Advisory Guidelines”) range but is a sufficient

punishment for this offense and this defendant under all circumstances contemplated by 18 U.S.C.

§ 3553(a).

   I. Objections to PSR

       Tim objects to certain misstatements in the PSR and to the applicable U.S. Sentencing

Guidelines calculation. The misstatements relate to the years that Tim materially underreported

his income and to the statement that he pled guilty to relevant conduct. Tim also seeks to correct

the PSR’s description of his receipts from criminal activity in excess of $10,000. The Guidelines

calculation objections relate to the tax loss amount used to determine his base-offense level, which

should have been below $1.5 million and resulted in a base offense level of 20 rather than 22, and

to the application of the sophisticated means enhancement. Accordingly, with no criminal history,

Tim’s applicable Guidelines range sentence is 27-33 months’ imprisonment.
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 2 of 15 PageID #:181



           A. The Years of Material Underreporting

       The PSR incorrectly states that Tim recognizes that he materially underreported his income

from 2003 through 2008, and 2011 through 2012. (PSR ¶¶ 5, 28.) Instead, Tim’s plea agreement

makes clear that he materially underreported his income in 2003 through 2007, and 2009 through

2010. (Nov. 1, 2017, Plea Agreement at 3.) For that reason, Tim asks that the PSR be corrected

to reflect his underreporting of income only from 2003 to 2007, and 2009 to 2010.

           B. Relevant Conduct

       The PSR incorrectly states that Tim pled guilty to the relevant conduct in this matter related

to his bankruptcy conduct, namely, that he caused his clients to file false bankruptcy materials in

the U.S. Bankruptcy Court related to Tim serving simultaneously as a creditor and debtor for these

clients. (PSR ¶ 35.) Relevant conduct also includes contentions that Tim falsely represented to

the U.S. Bankruptcy Court that he assigned client payments in some bankruptcy matters to a third

party. (PSR ¶ 10.) The PSR states that Tim acknowledges that he intentionally committed the

relevant conduct in this matter. (PSR ¶¶ 10, 35.) Tim, however, did not plead guilty to the relevant

conduct. (Nov. 1, 2017, Plea Agreement at 2-3.) Instead, Tim agreed only that the Government

could establish by a preponderance of the evidence that he engaged in this conduct. (Id.)

           C. Receipts from Criminal Activity in Excess of $10,000

       The PSR misstates Tim’s receipts from criminal activity for the enhancement under

Advisory Guideline § 2T1.1(b)(1). (PSR ¶ 36.) In relevant part, § 2T1.1(b)(1) provides for a

sentencing enhancement of two levels “[i]f the defendant failed to report or to correctly identify

the source of income exceeding $10,000 in any year from criminal activity[.]” The PSR alleges

that Tim deserves an enhancement under § 2T1.1(b)(1) because he received $265,513 in 2009 and

$488,042 in 2010 from criminal activity and did not report this income on his taxes. (Id.) The

PSR concludes that an enhancement under § 2T1.1(b)(1) is appropriate because the $265,513 Tim

                                                 2
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 3 of 15 PageID #:182



did not report in 2009 and the $488,042 Tim did not report in 2010 “consisted of funds obtained

through his violation of U.S. Bankruptcy law” and the amounts are “well beyond $10,000.” (Id.)

Nothing in evidence, however, supports the PSR’s conclusion. The PSR conflates the amounts

that Tim failed to report on his taxes with the amounts that the Government states Tim received

from violating U.S. Bankruptcy law. (See id.) In reality, the Government seeks an enhancement

for Tim under § 2T1.1(b)(1) alleging that he did not report or identify income received in violation

of U.S. Bankruptcy law in the amount of $30,148.37 in 2009 and $19,473.15 in 2010. Ex. A, Feb.

26, 2018, Email with Attachment Outlining Receipts in Excess of $10,000. These totals are hardly

“well beyond” the $10,000 requirement outlined in § 2T1.1(b)(1) as they are described in the PSR.

           D. Objections to Guidelines Base-Offense Level Calculation

                   1. The Tax Loss is between $550,000 and $1.5 Million, Resulting in a Base-
                      Offense Level of 20.

       In light of recent communications between the Government and defense counsel, the PSR

incorrectly states Tim’s tax loss. The PSR states that Tim’s tax loss for his 2003-2012 personal

income tax filings is $1,546,467. (PSR ¶¶ 28, 33.) The PSR states, “The government contends

that an overall tax loss of approximately $1,546,467 resulted from [Tim underreporting his

income].” (PSR ¶ 28.) The Government, however, now agrees with Tim’s assessment that his tax

loss for his filings between 2003 and 2012 is below $1.5 million. The Government’s tax analyst

has recently estimated Tim’s tax loss to be $1,518,227, barely more than one percent (1%) above

$1.5 million. In light of this, coupled with Tim’s ability to show unaccounted for expenses in more

recent tax years that would also exist in earlier tax years if similar records were readily available,

both parties agree that Tim’s tax loss is below $1.5 million.

       As a result, the PSR should reflect that the tax loss is between $550,000 and $1.5 million,

and that Tim’s base-offense level is level 20. See U.S.S.G. § 2T4.1(H).


                                                  3
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 4 of 15 PageID #:183



                   2. Tim’s Conduct Does Not Constitute Sophisticated Means.

       The PSR wrongly concludes that Tim should be subject to a sentencing enhancement under

§ 2T1.1(b)(2) for use of sophisticated means. The PSR notes that the Government recommends

the application of a sophisticated means enhancement because Tim “conceal[ed] income from

legal clients through the use of cash, money orders and cashier’s checks . . . .” (PSR ¶ 39.) The

PSR also states that Tim’s “use of two sets of financial records represents an example of the use

of fictitious entities in order to hide assets or transactions . . . .” (PSR ¶ 40.) This conclusion is

not supported by § 2T1.1(b)(2) or related case law.

        “Sophisticated means” is defined in the Guidelines as:

               Especially complex or especially intricate offense conduct pertaining to the
               execution or concealment of an offense. Conduct such as hiding assets or
               transactions, or both, through the use of fictitious entities, corporate shells,
               or offshore financial accounts ordinarily indicates sophisticated means.

§ 2T1.1, cmt. 5 (emphasis added); see United States v. Fife, 471 F.3d 750, 751, 754 (7th Cir. 2006)

(concluding that the use of four shell corporations without physical offices or accounting journals

to shield income justified the enhancement).

       In this case, Tim’s use of cashier’s checks to pay vendors and other expenses and his use

of Excel spreadsheets to record income do not constitute sophisticated means. See United States

v. Bhagavan, 911 F. Supp. 351, 354-56 (N.D. Ind. 1995) (stating that defendant’s conduct

“amount[ed] to some planning, but not to unusually sophisticated efforts to conceal the evasion,”

because “[defendant] did not hide money in bank accounts belonging to others or bearing arbitrary

(as opposed to identifying) numbers. He did not use aliases, code names, or portable bank

accounts. He did not use multiple mailing addresses and change his method of lying to the IRS to

avoid detection.” (internal citation and quotation marks omitted)).




                                                  4
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 5 of 15 PageID #:184



           Moreover, courts apply the sophisticated means enhancement in cases involving far more

egregious and ongoing conduct than the conduct at issue here. For example, in United States v.

Madoch, the Seventh Circuit applied the sophisticated means enhancement against the defendant,

a professional tax preparer, who repeatedly created false W-2 forms, false deductions, and

employment records, and then filed tax returns using the Social Security numbers of acquaintances

and clients with or without their consent. 108 F.3d 761, 766 (7th Cir. 1997). The defendant also

used five different addresses for the receipt of refund checks during a span of six years. Id.

Evidencing the low end of sophistication, in United States v. Bickart, the defendant spent six

months forging multiple 1099-OID forms from various major financial institutions to corroborate

several filed tax returns that contained false income and withholding information. See 825 F.3d

832, 835-38 (7th Cir. 2016). The court, despite holding against the defendant, stated that even this

conduct “ranks on the low-end of tax scheme sophistication.” Id. at 838.

           Contrary to the PSR’s recommendation, Tim did not engage in conduct that was at all

sophisticated. See § 2T1.1, cmt. 5; see Fife, 471 F.3d at 754. Courts have made clear that the use

of cashier’s checks, money orders, and false ledgers alone do not rise to the level of sophisticated

means. See Bhagavan, 911 F. Supp. at 354-55. Moreover, Tim’s conduct does not meet the

egregious and repeated conduct necessary for a sophisticated means enhancement to apply in the

present matter. See Bickart, 825 F.3d at 835-38; Madoch, 108 F.3d at 766. Thus, the sophisticated

means enhancement should not apply to Tim’s conduct.

    II. Sentencing Memorandum

           A sentence of 60 months’ probation is reasonable and appropriate based on the § 3553(a)

factors.




                                                  5
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 6 of 15 PageID #:185



           A. Legal Standard

       A district court can issue a sentence below the Advisory Guidelines range after considering

the sentencing factors outlined in § 3553(a) and reaching a determination that the defendant’s

character and history as well as the need for punishment and deterrence make a sentence below

the Advisory Guidelines appropriate. See United States v. Wachowiak, 496 F.3d 744, 748 (7th

Cir. 2007) (stating that § 3553(a) factors are “broad, vague, and open-ended . . . so the sentencing

judge has considerable discretion to individualize the sentence to the offense and offender as long

as the judge’s reasoning is consistent with § 3553(a)”), abrogated on other grounds by Nelson v.

United States, 555 U.S. 350 (2009)). In Gall v. United States, for example, the Supreme Court

upheld a sentence of 36 months’ probation when the Advisory Guidelines range recommended 30-

37 months’ imprisonment based on the district court’s consideration of, among other factors, the

defendant’s rehabilitation, remorse, and employment history. 552 U.S. 38, 43-44, 59-60 (2007).

       Section 3553(a) seeks to arrive at a sentence that is “sufficient, but not greater than

necessary” to comply with the four statutory purposes of sentencing: (1) reflecting the seriousness

of the offense, promoting respect for the law, and providing just punishment; (2) deterrence;

(3) protecting the public from further crimes by the defendant; and (4) rehabilitation. 18 U.S.C. §

3553(a)(2). Courts must consider the factors listed in § 3553(a) when determining what sentence

is sufficient, but not greater than necessary, including the nature and circumstances of the offense

and the history and characteristics of the defendant, the need for the sentence to comply with the

statutory purposes of sentencing, the kinds of sentences available, the Advisory Guidelines

sentencing range and any pertinent policy statement issued by the Sentencing Commission, the

need to avoid unwarranted sentencing disparities, and the need to provide restitution. 18 U.S.C. §

3553(a). For the reasons set forth below, Tim submits that the § 3553(a) factors call for a sentence

below the Advisory Guidelines sentencing range.
                                                 6
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 7 of 15 PageID #:186



           B. History and Characteristics of the Defendant

       There are many circumstances that led Tim to engage in the offense conduct. Tim struggled

to have control over his life. Tim experienced emotional, physical, and sexual abuse in his youth.

Tim’s turbulent upbringing led to his entering a dysfunctional marital relationship with his ex-

wife. Tim built a stellar bankruptcy law practice that allowed him to take control of his life as a

successful attorney. Maintaining control over his law firm’s growth gave Tim a great sense of

purpose. However, this strong, driving purpose proved to be Tim’s downfall when he allowed it

to interfere with his objectives by engaging in the improper conduct related to his law practice as

further described herein.

                   1. Family of Origin

       Tim was born and raised in Wheaton, Illinois, to William and Judith Liou. His one sibling,

Peter Liou, is deceased, and his other sibling, Lisa Shebar, resides in Wheaton with her three minor

children. Tim’s brother, Peter, was murdered in 1995 by a troubled teenager whom Peter had

sought to mentor. Tim’s father died at the age of 75 in 2006 after becoming a quadriplegic due to

injuries sustained in a fall. Tim’s mother is 81 and resides in Wheaton with her third husband.

                   2. Abuse as a Child

       During his childhood, Tim’s mother became physically and emotionally abusive to him

and his siblings after William left the marriage and family home.           This abuse became so

detrimental to Tim that he left his mother’s home in his youth to live with his father.

       In addition to the parental abuse Tim endured, he was also sexually assaulted twice by an

adult male when Tim was just 14 years old. Tim continues to struggle with being the victim of

sexual assault; this abuse and the unrelated abuse from his mother greatly affected him.




                                                 7
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 8 of 15 PageID #:187



                   3. Ex-wife’s Gambling and Bipolar Disorder

       Tim also endured a tumultuous 17-year marriage to his ex-wife, Say Liou. Tim attempted

to help his wife overcome gambling issues that drained the couple’s bank accounts of countless

monies during their marriage. Tim was under constant, incredible pressure to maintain Say’s

extravagant lifestyle that ran counter to his conservative spending habits. Say also suffered from

drug abuse. Although Tim entered his wife into addiction rehabilitation programs, her gambling

and drug use persisted during their marriage. Tim also attempted to help his wife seek treatment

for bipolar disorder, with which she was diagnosed shortly before the end of their marriage. After

years of Tim faithfully and lovingly trying to help Say rid her addictions and temper her bipolar

disorder, Say left Tim and filed for divorce in 2011. Although devastated by the loss of his

marriage that he had attempted to save against all odds, Tim felt finally relieved of the

overwhelming burden of the marital finances that had been spinning out of control.

                   4. Today

       First, Tim today is remorseful. He is mortified at his past conduct and is committed to

living a law-abiding life. That can be seen in the way he has lived his life since the offense conduct.

       Despite his difficult past, Tim has been a pillar in his family and to others. Tim has

grappled with being a sexual assault victim and has overcome the difficult relationships with his

mother and ex-wife to serve as a father figure and positive male role model for his young niece

and two young nephews. In light of Tim’s sister’s pending divorce, Tim has made it his

responsibility to act as a caretaker and nurturer for them. He also visits his elderly mother, Judy,

every Sunday, to ensure she gets to church with him, having forgiven her for her actions.

       In addition to providing non-financial support to his own family, Tim also assists his friend,

Li Yao, with the care of her minor son, Jerry, who suffers from severe learning disabilities and

autism and who considers Tim to be a second father. Ever since he stopped practicing law in 2013,

                                                  8
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 9 of 15 PageID #:188



Tim has mentored and tutored Jerry on a daily basis. Jerry needs a large amount of attention and

care for his emotional and intellectual growth, and requires practice with English along with

individualized attention he does not receive enough of at school, all of which Tim provides.

       Additionally, Tim’s letters of support help show his true character. See Group Ex. B, Tim

Support Letters; United States v. Vrdolyak, 593 F.3d 676, 688 (7th Cir. 2010) (Hamilton, J.,

dissenting) (noting that letters of support can “provide unexpected information and add new

insights into the defendant’s character”). The vast outpouring of support that Tim has received

from family, friends, professional colleagues, and his pastor are part of Tim’s history and

characteristics and therefore demand consideration, along with his expression of remorse. 18

U.S.C. § 3553(a); see United States v. Adelson, 441 F. Supp. 2d 506, 513-14 (S.D.N.Y. 2006) (“If

ever a man is to receive credit for the good he has done, and his immediate conduct accessed in

the context of his overall life hitherto, it should be at the moment of his sentencing, when his very

future hangs in the balance.”). Tim’s remorse and letters of strong support show him to be truly

sorry for his conduct and that the conduct at bar is not representative of Tim’s true character.

       In addition to his own disappointment in his actions, Tim has also been substantially

impacted by the heartbreak of his friends and family, who fear potentially losing him from their

lives for any period of time. Not only do Tim’s support letters show his true character, but they

also reveal how essential he is to the people engrained in his life. Tim’s aging mother depends on

him for support and periodic monitoring. Tim serves as a surrogate father for his young niece and

nephews—the children of his only living sibling, Lisa—as well as for Jerry. Tim further mentors

and helps raise Jerry, who greatly struggles with severe learning disabilities and autism to place

even in the lowest 5% of his peers. These people and many others need Tim in their lives to help

them function and thrive.



                                                 9
   Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 10 of 15 PageID #:189



           C. The Seriousness of the Offense

       Tim recognizes the severity of his tax underreporting and related relevant conduct. Tim

understands that, though his crime is non-violent, he has harmed both the Government and

individuals. In a related bankruptcy professional responsibility matter, Tim has already agreed to

pay restitution to the individuals whom his conduct has harmed. Tim will also work with the

Government to repay his tax loss upon resolution of the present matter. However, Tim cannot

repay aggrieved individuals and the Government unless he is able to earn income. Therefore,

probation, rather than incarceration, is the appropriate punishment for Tim so that he can repay the

victims of his conduct.

           D. The Need for Deterrence

       Probation is an adequate deterrent for Tim and those like Tim who commit similar non-

violent crimes. Tim has already surrendered his law license and has experienced the shame that

comes with having a criminal record. See United States v. Anderson, 533 F.3d 623, 633-34 (8th

Cir. 2008) (affirming a sentence below Advisory Guidelines when considering “other ways in

which the defendant had suffered atypical punishment such as the loss of his reputation and his

company”). For Tim and non-violent offenders similar to him, 60 months of probation is an

appropriately strong deterrent and sufficient reminder of the cost of criminal activity and will

assuredly prevent recidivism.

           E. Rehabilitation

       A period of 60 months’ probation will adequately rehabilitate Tim. Conversely, a prison

sentence of any duration would likely further harm Tim’s rehabilitation and earning capacity to

pay restitution. Tim understands that his conduct harmed individuals, he is remorseful, and he is

committed to living a law-abiding life. For non-violent offenders like Tim, rehabilitation can be

accomplished without a loss of liberty. Incarceration, on the other hand, may prevent Tim’s

                                                10
    Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 11 of 15 PageID #:190



rehabilitation by taking him away from productive society and introducing him to truly hardened

criminals who deserve incarceration. A sentence of 60 months’ probation will allow Tim to

rehabilitate while under the Government’s guidance without the risk of exposing Tim to the ills of

prison that may deter rehabilitation and severely derail, or at least delay, his ability to pay

restitution.

               F. Tim Should Not Receive a Sentencing Enhancement under Advisory
                  Guideline § 2T1.1(b)(1)

        The purpose of Advisory Guideline § 2T1.1(b)(1) renders the sentencing enhancement

inapplicable to Tim. In relevant part, § 2T1.1(b)(1) allows for a two-level sentencing enhancement

“[i]f the defendant failed to report or to correctly identify the source of income exceeding $10,000

in any year from criminal activity[.]” The purpose of the enhancement as outlined in the Advisory

Guidelines makes clear that it should not apply to Tim. The Advisory Guidelines state with regard

to enhancements under § 2T1.1(b)(1):

                  Failure to report criminally derived income is included as a factor for
                  deterrence purposes. Criminally derived income is generally difficult to
                  establish, so that the tax loss in such cases will tend to be substantially
                  understated. An enhancement for offenders who violate the tax laws as part
                  of a pattern of criminal activity from which they derive a substantial portion
                  of their income also serves to implement the mandate of 28 U.S.C. §
                  994(i)(2).1

§ 2T1.1, Background. Courts have held that an enhancement under § 2T1.1(b)(1) is inappropriate

when a defendant files false tax returns but discloses the source of income from those returns. See

United States v. Murray, 468 Fed. Appx. 104, 109-10 (3d Cir. 2012). Tim should not be subject

to the enhancement under § 2T1.1(b)(1) because all of his income came from his work at the Liou

Law Firm and he disclosed his work as an attorney as the source of his income on his 2009 and


1
  28 U.S.C. § 994(i)(2) reads, “The Commission shall assure that the guidelines specify a sentence to a substantial
term of imprisonment for categories of defendants in which the defendant . . . committed the offense as part of a
pattern or criminal conduct from which the defendant derived a substantial portion of . . . income[.]”

                                                        11
   Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 12 of 15 PageID #:191



2010 federal income tax returns. While Tim accepts that the Government can establish that he

filed false income tax returns, Tim did not conceal that the Liou Law Firm was the source of his

income. See Murray, 468 Fed. Appx. at 109-10. Tim’s disclosure of the Liou Law Firm as the

source of his income rendered the source of his receipts from clients transparent and not at all

“difficult to establish.” See id; § 2T1.1, Background.

       Additionally, courts recognize that, even when the plain language of § 2T1.1(b)(1) suggests

that the enhancement should apply, the purpose of the enhancement as outlined in the background

commentary to § 2T1.1 may render the enhancement inapplicable. For example, in United States.

v. Deprey, the court declined to apply the enhancement despite the defendant clearly failed to

report $10,000 received from criminal activity. No. 01-CR-227, 2002 U.S. Dist. LEXIS 22356, at

*17-18 (E.D. Wis. Nov. 7, 2002). The defendant in Deprey pled guilty to one count of failing to

pay payroll taxes to the IRS and one count of filing a false income tax return due to her failure to

report the embezzled amount. Id. at *2. The Government sought a two-level enhancement under

§ 2T1.1(b)(1) because the defendant failed to report over $10,000 of income on her annual tax

return from embezzling activity. Id. at *2-3. The Government argued that, although it was able

to determine the exact amount of embezzlement, it was only able to do so “after examining each

individual check issued by defendant” and deciding if it was from the embezzled fund. Id. at *12.

The Government, therefore, insisted upon applying the enhancement. Id.

       The court in Deprey agreed with the Government’s position that the plain language of

§ 2T1.1(b)(1) suggested that the enhancement applied. Id. at *13. The court, however, refused to

apply the enhancement, explaining that the enhancement had two justifications when considering

the Advisory Guidelines’ commentary: (1) tax loss resulting from criminal activities is often hard

to calculate and thus often understated, since “criminals tend not to keep complete and accurate



                                                12
   Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 13 of 15 PageID #:192



books”; and (2) defendants who committed tax offenses “as part of a pattern of criminal activity”

should receive more severe punishment. Id. at *18-19. The court determined that the first

justification did not apply because the tax loss based on unreported income “can be computed to

the penny” and therefore there was no understatement whatsoever. Id. The court also refused to

hold the second rationale applicable because tax loss based on a pattern of criminal activities

(repeated embezzlement over the years) had been fully accounted for in the defendant’s tax evasion

convictions. Id. at *20. Even though the defendant was not convicted of embezzlement, “[t]he

money she embezzled and the money she failed to send [sic] the IRS [was] the same.” Id. The

court concluded that applying the enhancement would result in “an overstatement of the

seriousness of the offense” and granted the defendant a two-level downward adjustment in its

consideration of 18 U.S.C. § 3553(a) factors. Id. at *21.

       Similar to Deprey, the Government was able to calculate Tim’s tax loss by reviewing bank

statements and cashier’s checks received by Tim. See Deprey, 2002 U.S. Dist. LEXIS 22356 at

*18-19. Also, the tax loss based on Tim’s bankruptcy conduct has been fully accounted for in the

calculation of Tim’s tax loss. See id. at *20. Consequently, applying an enhancement under

§ 2T1.1(b)(1) would only lead to “an overstatement of the seriousness of the offense.” See id. at

*21.

                                        CONCLUSION

       The question before this Court is how much time is sufficient but not greater than necessary

to sentence Timothy Liou for filing false tax returns in 2009 and 2010. Taken individually or

cumulatively, the foregoing factors suggest a sentence of 60 months’ probation. A 60-month

probationary sentence will more than adequately punish Tim for his conduct and deter any future




                                                13
   Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 14 of 15 PageID #:193



wrongful conduct. For this reason, Tim respectfully requests that the Court impose a sentence of

60 months’ probation.



Dated: July 18, 2018                               Respectfully Submitted,



                                                   By: /s/ Gayle Littleton
                                                          Attorney for Defendant

                                                           Gayle Littleton
                                                           Blake Sercye
                                                           Huiyi Chen
                                                           JENNER & BLOCK LLP
                                                           353 North Clark Street
                                                           Chicago, IL 60654
                                                           Telephone: (312) 222-9350
                                                           Facsimile: (312) 527-0484
                                                           GLittleton@jenner.com
                                                           BSercye@jenner.com
                                                           HChen@jenner.com




                                              14
   Case: 1:17-cr-00227 Document #: 61 Filed: 07/18/18 Page 15 of 15 PageID #:194



                               CERTIFICATE OF SERVICE

        Blake Sercye, an attorney, certifies that he caused a copy of the attached Defendant
Timothy Liou’s Objections to Presentencing Report and Sentencing Memorandum to be served on
the following through the Court’s CM/ECF system:


Assistant U.S. Attorney Brian Netols
United States Attorney’s Office
Dirksen Federal Building
219 South Dearborn Street
Chicago, Illinois 60604
Telephone: (312) 353-5300
brian.netols@usdoj.gov


                                                 /s/   Blake Sercye
                                                        Blake Sercye
